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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND

 WAGNER JACINTO AND
 CESILIA RODRIGUEZ                 :
                                   :
             Plaintiffs,           :
                                   :
       vs.                         :                       C.A. No. 1:20-cv-00384
                                   :
 WILMINGTON TRUST COMPANY AS       :
 SUCCESSOR TRUSTEE FOR THE BENEFIT :
 OF THE CERTIFICATE HOLDERS OF     :
 POPLAR ABS, INC MORTGAGE          :
 PASS-THROUGH CERTIFICATES SERIES :
 2005-C, PHH MORTGAGE CORPORATION :
                                   :
             Defendants.           :

                 JOINT MOTION TO EXTEND DEPOSITION DEADLINE

         Plaintiffs Wagner Jacinto and Cesilia Rodriguez (“Plaintiffs”) together with Defendants

 PHH Mortgage Corporation (“PHH”) and Wilmington Trust Company as successor trustee to The

 Bank of New York as successor trustee for JPMorgan Chase Bank, N.A., as Trustee for the benefit

 of the Certificateholders of Popular ABS, Inc. Mortgage Pass-Through Certificates Series 2005-C

 (“Wilmington”) (collectively “Defendants”) jointly request that the deadline set forth in the

 Court’s order dated October 3, 2023, to complete a deposition of Gina Feezer be extended by 30

 days to November 25, 2023. As reasons therefore parties state they require additional time to

 provide and review documents related to the deposition.

 Dated: October 25, 2023



                                             PHH MORTGAGE CORPORATION AND
                                             WILMINGTON TRUST COMPANY AS
                                             SUCCESSOR TRUSTEE TO THE BANK OF
                                             NEW YORK AS SUCCESSOR TRUSTEE FOR

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                                               JPMORGAN CHASE BANK, N.A., AS TRUSTEE
                                               FOR THE BENEFIT OF THE
                                               CERTIFICATEHOLDERS OF POPULAR ABS,
                                               INC. MORTGAGE PASS-THROUGH
                                               CERTIFICATES SERIES 2005-C
                                               By Their Attorneys,

                                               /s/ Joseph A. Farside, Jr.
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                                 CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that on the 25th day of October 2023 this document, filed
 through the ECF system, will be sent electronically to the registered participants as identified on
 the Notice of Electronic Filing (NEF), and paper copies will be mailed to those indicated as non-
 registered participants.


                                               /s/Joseph Farside
                                               Joseph Farside




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